             Case 1:24-mj-00184-PJG                      ECF No. 1, PageID.1                    Filed 05/10/24          Page 1 of 1
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Western District
                                                     __________ Districtofof
                                                                           Michigan
                                                                             __________

              In the Matter of the Search of                                 )
        (Briefly describe the property to be searched                        )
         or identify the person by name and address)                         )              Case No. 1:24-mj-184-PJG
5087 W. Centerline Road, St. Johns, Clinton County, Michigan, its            )
  outbuildings, and curtilage; vehicles registered to Nathanael              )
 WILSON on the curtilage; WILSON's person; and cellular/mobile               )
   telephones/devices owned by or associated with WILSON

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 SEE ATTACHMENT A

located in the              Western               District of                    Michigan               , there is now concealed (identify the
person or describe the property to be seized):
 SEE ATTACHMENT B


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔
               ’ evidence of a crime;
               ✔
               ’ contraband, fruits of crime, or other items illegally possessed;
                 ✔
                 ’ property designed for use, intended for use, or used in committing a crime;
                 ’ a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18:922(g)(1)                              Felon in Possession of a Firearm
        21:841(a)(1)                              Distribution or Possession with Intent to Distribute a Controlled Substance


          The application is based on these facts:
        SEE ATTACHED CONTINUATION


          ✔
          ’ Continued on the attached sheet.
           ’ Delayed notice of        days (give exact ending date if more than 30 days:                                     ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                       Applicant’s signature

                                                                                               Joshua White, Special Agent ATF
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      Telephone                       (specify reliable electronic means).


Date:        May 10, 2024
                                                                                                         Judge’s signature

City and state: Grand Rapids, Michigan                                                       Phillip J. Green, U.S. Magistrate Judge
                                                                                                       Printed name and title
